Case 19-10305-JCM        Doc 64     Filed 08/22/23 Entered 08/22/23 11:12:12            Desc Main
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                 IN THE UNITED STATES BANKRUPTCY COURT
           FOR THE WESTERN DISTRICT OF PENNSYLVANIA (ERIE)
 In re:                                 :
                                        : Case No.: 19-10305-JCM
 James C. Griggs                        : Chapter 13
                                        : Judge John C. Melaragno
                              Debtor(s) : * * * * * * * * * * * * * * * * * *
                                          *
                                        :
 PNC Bank, National Association         : Hearing   Date
                                          Related to:     and Time
                                                       Document    No. 58
                               Movant,  : August   29, 2023  at 01:30 p.m.
        vs                              :
                                        :
 James C. Griggs                        :
 C Joceen Griggs                        :
 Ronda J. Winnecour                     :
                         Respondents. :

                                  ORDER OF THE COURT

                                  22nd
        AND NOW, to wit, this _____day           August
                                             of _________,   20__,
                                                                23 upon consideration of the Motion
for Relief from the Automatic Stay and Codebtor Stay on First Mortgage for Real Property
Located at 820 High St, Conneaut Lake, PA 16316-0156 filed by PNC Bank, National
Association, it is hereby ORDERED, ADJUDGED AND DECREED, that the Motion is
granted and that the Automatic Stay and Codebtor Stay be and hereby are terminated as it affects
the interest of the Creditor in and to the property located at 820 High St, Conneaut Lake, PA
16316-0156 and more particularly described in the Mortgage, recorded March 14, 2005 at
Instrument Number 200500002811.

        IT IS FURTHER ORDERED that Creditor may take all actions necessary to enforce its
rights in the Property under state law. Additionally, the____________________________________
                                                          Court orders that the Fed.R.Bankr.P.
                                                         John C. Melaragno, Judge
4001(a)(3) is waived, and this order is effective immediately.
                                                       United States Bankruptcy Court
        IT IS FURTHER ORDERED that further compliance with Fed.R.Bankr.P. 3002.1 is
                                                             SIGNED
waived as to Creditor in the instant bankruptcy case upon entry of this Order granting relief from
the automatic stay.                                          8/22/23   10:08 am
                                                             CLERK
                                                             U.S. BANKRUPTCY
Prepared by: Alyk L. Oflazian                                COURT - WDPA

Date: __________________________                  ______________________________
                                             JUDGE JOHN C. MELARAGNO
                                             UNITED STATES BANKRUPTCY JUDGE




19-018582_EJS1
